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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


ROBERT OWEN WILLIAMS,                          )
                                               )
           Plaintiff,                          )
                                               )
  v.                                           ) CASE NO. 2:21-CV-137-WHA-SRW
                                               )
CAPT. LARRY NIXON,                             )
                                               )
           Defendant.                          )


                                       ORDER

        This case is before the Court on a Recommendation of the Magistrate Judge entered

on September 14, 2021. Doc. 22.         There being no timely objections filed to the

Recommendation, and after an independent review of the file, the Recommendation is

ADOPTED, and it is hereby

        ORDERED that this case is DISMISSED without prejudice.

        A Final Judgment will be entered separately.

        Done, this 28th day of October 2021.


                                      /s/ W. Harold Albritton
                                   W. HAROLD ALBRITTON
                                   SENIOR UNITED STATES DISTRICT JUDGE
